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Karena A. Feng
1995-34" Avenue

San Francisco, CA 94116
(650) 350-9088
afengre@gmail.com

FILED

JAN 06 2020

 

    
 

SUSAN Y. SOONG
CLERK, U.S. DISTR

NORTH DISTRICT OF CALIFORNIA

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

KARENA A. FENG,
Plaintiff,

VS.

COUNTY OF SANTA CLARA,
COUNTY OF SAN FRANCISCO,
ANNA PATROWSKY, PH.D., MAYRA
ALVAREZ, ARTHUR GEE-YEH TAN,
AMBER ROSEN, BRIAN
HAWKINSON, AMY YIM, JOHN
DOE, AND JANE DOE,

Defendant

 

 

Case No.: CV-19-06877 LB

Lirét
AMENDED COMPLAINT

JURY TRIAL DEMANDED

AMENDED COMPLAINT FOR VIOLATON OF

PENAL CODE § 11172(a), 42 U.S.C. §1983, FOURTEENTH AMENDMENT,

and 18 U.S.C. 1961, et seq.

 
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JURISDICTION

1. This amended complaint is an action for relief, proximately the result of

conduct engaged in by the County of Santa Clara, County of San Francisco,
Anna Patrowsky, Ph.D., Mayra Alvarez, Amber Rosen, Brian Hawkinson,
and Amy Yim, in violation of 42 U.S.C. §1983, Fourteenth Amendment, and

18 U.S.C. 1961, et seq.

. This Court has personal jurisdiction over the Defendants because all factual

allegations derive from violations of 42 U.S.C. §1983, Fourteenth
Amendment, 18 U.S.C., 1961 et seq., and for the sake of judicial
expediency, this Court has supplemental jurisdiction over all other claims in
the actions of the parties within such original jurisdiction that they form part

of the same dispute pursuant to 28 U.S.C. §1367.

. This Court has subject matter jurisdiction over this dispute pursuant to 28

U.S.C. §§1331 and 1338 (federal question jurisdiction). Jurisdiction 1s
premised upon the Federal defendants’ violation of 42 U.S.C. §1983,
Fourteenth Amendment, and 18 U.S.C. §1961, et seq.

VENUE

. The venue is proper in this district pursuant to 28 U.S.C. §§1391 and 1400

because the bulk of the Plaintiff’s business is transacted in the County of San

Francisco, and for the Defendants that do not, and for the sake of judicial

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expediency, this Court has supplemental jurisdiction over the Defendants
that are so related to claims in the actions of the parties within such original
jurisdiction that they for the Court’s jurisdiction is invoked pursuant to 28
USS.C. §§1331, 1343.

THE PARTIES

. Plaintiff, Karena A. Feng (hereinafter “Plaintiff’), is a sui juris resident of

San Francisco, CA residing at:
1995-34 Avenue

San Francisco, CA 94116

San Francisco County

. Federal defendant County of Santa Clara (hereinafter “County No.1”),

officially the County of Santa Clara, is California’s 6" most populous
county, with a population of 1,781,642 as of the 2010 census with a
principal address of:

70 West Hedding Street

San Jose, CA 95110

Santa Clara County

. Federal defendant County of San Francisco (hereinafter “County No. 2”),

officially City and County of San Francisco is the cultural, commercial, and

financial center of Northern California. San Francisco is the 13° most

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. Federal defendant Anna Patrowsky, Ph.D. (hereinafter “Patrowsky”), Kaiser

. Federal defendant Mayra Alvarez (hereinafter “Alvarez”), Santa Clara,

10.Federal defendant Brian Hawkinson (hereinafter “Hawkinson”), Santa Clara,

 

 

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populous city in the United States, and the fourth most populous in
California, with 883,305 residents as of 2018 with a principal address of:
City Hall, Room 168
i Dr. Carlton B. Goodlett Place

San Francisco, CA 94102-4678

Hospital, Psychiatrist-In-Charge, is a sui juris resident of places unknown
with a principal place of business at:
200 Hospital Way, 5" Floor

Santa Clara, CA 95051

DFCS-CPS Investigator, sued in her individual capacity, is a sui juris
resident of places unknown and with a principal place of business at:
373 W. Julian Street
Santa Jose, CA 95110

Santa Clara County

DFCS-CPS supervising social worker, sued in his individual capacity, is a
sui juris resident of places unknown with a principal place of business at:

373 W. Julian Street

 
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San Jose, CA 95110
Santa Clara County
11.Federal defendant Amber Rosen (hereinafter “Rosen”), sued in her
individual capacity, is a Superior Court Judge and sui juris resident of places
unknown with a principal place of business at:
201 N. First Street, Department 67
San Jose, CA 95113
Santa Clara County
12.Federal defendant Arthur Gee- Yeh Tan (hereinafter “Tan’”) is a sui juris
resident of places unknown and a public attorney in Santa Clara County with
a principal place of business at:
31 N 2™ Street Suite 300B
San Jose, CA 95113
Santa Clara County
13.Federal defendant Amy Yim (hereinafter “Yim”), San Francisco DHS,
DFCS-CPS supervising social worker; sued in her individual capacity, is a
sui juris resident of places unknown with a principal business address of:
170 Otis Street
San Francisco, CA 94103

San Francisco County

 
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STATEMENT OF FACTS

14.0n November 26, 2018, Federal defendant Anna Patrowsky entered
Plaintiff's maternity recovery ward with a surgical mask over her face and
mumbled while talking rapidly, so rapidly that Plaintiff could not
comprehend.

15.Patrowsky ripped off one side of her mask to expose her mouth and said that
she “just had another patient with postpartum depression or psychosis, right
before seeing [you](Plaintiff), and [I](Patrowsky) doesn’t want to bump into
another one.”

16.Plaintiff reminded federal defendant Patrowsky that she had nothing to do
with another patient, has been delayed for discharge, and wished to bring my
newborn baby home to show the rest of her family.

17.Patrowsky demanded, in a condescending and angry tone, that Plaintiff must
take some type of psychedelic drug and stated that “If [you](Plaintiff) do not
take it, then [I](Patrowsky) will call CPS to take your children away, throw
you into the ward, do not disclose the address so no one can save you and
that you cannot see another day’s light, and you will lose your children

forever. That way, you’ll know who’s boss!”

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18.Shocked at this unethical, unprofessional, and malpractice behavior, Plaintiff
kindly asked if she could have a second opinion to which Patrowsky replied,
“NO!”

19.Federal defendant Patrowsky said she makes the decisions and Patrowsky
yelled, “[I](Patrowsky), am THE LAW!”

20.There were at least 8 (eight) other Kaiser staff members in the room who
first-handley witnessed the entire conversation, along with surveillance
equipped in the room.

21.Patrowsky ordered Mayra Alvarez to remove Plaintiffs all four children,
LF, KF, EF, (and newborn, RF), (Any person who makes a report of child
abuse or neglect known to be false or with reckless disregard of the truth or
falsify of the report is liable for any damages caused, without immunity,
Penal Code § 11172(a).)

22.Federal defendant Alvarez lied about LF, KF, & EF being home by
themselves when the police, (that Alvarez called), together, the police and
Alvarez found the children at Plaintiff's Bella Villagio apartment with
Martin Shiang (hereinafter “Martin”) and Emily Yang which the police
report reflected accordingly (herein as Exhibit “A”). Alvarez deliberately
arranged the conditions, so such conditions looked worse than they really

were. Federal defendant Alvarez tampered with evidence in flagrant
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violation (...predicate act of obstruction of justice, 18 U.S.C. 1961, et seq.)
Federal defendant Alvarez blamed the children for not opening the door and
not complying with authorities, when the peephole camera recorder showed
Alvarez used her palm to cover the camera, not allowing LF, KF, and EF, to
know what was going on or who it was (...Any person who makes a report
of child abuse or neglect known to be false or with reckless disregard of the
truth or falsify of the report is liable for any damages caused, without
immunity, Penal Code § 11172(a).).

23.On November 28, 2018, federal defendant Arthur Gee- Yeh Tan told Plaintiff
that is is the court-appointed attorney, that he wants Plaintiff to deal with
federal defendant Hawkinson herself, and that, “my client, submits to
everything in the petition.” The plaintiff was coerced.

24.In court, federal defendant Tan told the court that Plaintiff submits to
everything that the federal defendant Brian Hawkinson wrote upon the Feng
family. Tan said, “do not say a thing” in court, “I will handle this the right
way,” or “you won’t get your kids back.” The plaintiff was extorted.

25.When presented to federal defendant Hawkinson, he tossed aside the
allegations against Patrowsky stating, “it doesn’t matter” and continues to

injure the Feng family.

 
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26. Without the Plaintiff's authorization, federal defendant Tan told the court
that the plaintiff “submits” repetitively, to the false petition from Brian
Hawkinson, Mayra Alvarez, and Anna Patrowsky. Plaintiff had previously
described and shown proof to Tan that everything written in the petition is
outrageous, unfounded, and not actual. Tan constructively tampered with
testimony in flagrant violation of the predicate act of witness tampering
under 18 U.S.C. 1961, et seq.

27.Federal defendants Tan and Hawkinson, with the help of the judge, Amber
Rosen, continue to disregard anything Plaintiff said and continue to force the
separation of vital care to LF, KF, MF and RF; and forced them into
inhumane shelters and abusive foster homes.

28.The Santa Clara County Department of Family and Children Services
(“DFCS”) failed in their duty to investigate the alleged malpractice of a
psychiatrist, federal defendant Patrowsky, in which the plaintiff also claims
unethical treatment based on NO diagnosis.

29. Without authorization, federal defendant Tan supports any and everything
federal defendant Hawkinson, who works together day-in-and out with
Juvenile Dependency cases. Hawkinson wants to include fraudulent claims

that “the mother was hallucinating and paranoid.”

 
 

 

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30.When interviewed by Hawkinson, “all of the [Kaiser] staff said the same
thing that [plaintiff] had psychosis of unknown or not known kind of
psychosis, (not medically known psychosis purportedly is a ripe defense
which saves DFCS in lawsuits, while misleading any court).

31.Plaintiff’'s roommate, Paul Hernandez, who also works at Kaiser, said that
all staff must stay consistent with the Psychiatrist-In-Charge; otherwise, they
will be thrown into the ward themselves and heavily disciplined or dismissed
from their hospital job; however, Hernandez admitted to Plaintiff that no
hospital staff needs to follow up on the Psychiatrist-In-Charge’s orders if it
means that they will perjure themselves under the penalty of felony and face
losing their licenses. (Anyone (not just doctors) who intentionally and or
negligently cause injury to someone, then are liable for compensatory
damages and ...punitive damages. California Civil Code section 1714.).

32.Plaintiff received confirmation from another Ph.D. psychologist, Dr.
Randolph Badler, that Plaintiff has been ideally equipped to care for LF, KF,
MF, and RF after Plaintiff's involuntary placement into a psychiatric ward
along with children removed without a warrant or court order, but for
underlying “ulterior motives.” (Attached herein as Exhibit “B”).

33.Federal defendant Tan did not pursue “Emergency Waivers,” thereby

forfeiting the right to have LF, KF, MF, and RF returned immediately; when

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34.0n November 28, 2018, federal defendant Hawkinson doctored his First

35.Federal defendant Tan and Hawkinson continue attacking the Plaintiff with

 

 

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proven that the allegations were fraudulent. Plaintiff was brought into a “six-

month-review” process in court proceedings that delays family reunification.

Petition versus his Second Petition in December 2018 in flagrant violation of
the predicate acts of obstruction of justice under the Civil RICO statute; for
example, the discharge papers from Crestwood Psychiatric facility (the
mental ward) in Santa Clara, said that Plaintiff has “blank” for diagnosis, on
Plaintiff's original discharge paper. After Hawkinson’s arrangement, the
diagnosis suddenly said, “unspecified mental disorder,” on the First Petition,
to a crossed-out, hand-written-in “unspecified psychosis disorder” as a
diagnosis on the Second Petition against plaintiff from federal defendant
Hawkinson, (attached herein as Exhibit “C”). Federal defendant Hawkinson

arranged alteration of the ward papers on his own accord.

the malicious allegations and demand the plaintiff receive therapy. After the
case got transferred to San Francisco, Amy Yim, San Francisco DFCS-CPS
supervising social worker, takes up on the malicious allegations disregarding
everything the Plaintiff, the children, and the witness (attached as “Exhibit

D”) proved otherwise; substantiating Tan, Hawkinson, and Yim’s fraudulent

intentions, in violation of .

 
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36.From November 2018 through March 2, 2019, Hawkinson mistreated and
tortured LF, KF, EF, and RF. When EF tried to stand up for himself and the
sisters, federal defendant Hawkinson locked EF into a room and forced him
into treatments saying that EF was rude instead of expressing the truth of
how Hawkinson manipulated the situation to have the vulnerable and
defenseless LF, KF, EF, and RF forced into mental issues categorization
when they do not have any issues, and are fine.

37.From May 2019 to January 2020, Yim continues to torture the plaintiff, her
children, and the NRFEM. On August 23, 2019, federal defendant Yim
concocted an entrapment scheme where the children have an appointment
for immunization shots but were not allowed to go because Yim said so, and
then later had to get a night-time appointment, where federal defendant Yim
further pretended she had no knowledge about it and then called the police ta

place Plaintiff under arrest for not having LF, KF, and EF, home earlier.

 

38.The police report they have on the plaintiff that’s supposedly showing as
"evidence" against plaintiff, states "prior to arrival" the social worker said...
(all hearsay from federal defendant Yim) and the police report stated Yim as

“not forthcoming.”

 
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39.The police found the children at Plaintiff's apartment and made accusations
of kidnap, whereas the first police group, Atzuro Ramirez, told Plaintiff to
get the children to a safe place when Plaintiff was out of town.

40. When Plaintiff finally reached the babysitter who told plaintiff that he (the
babysitter) took the kids to eat. Plaintiff told the babysitter to go to Martin’s
(children's home at the NRFEM), but the babysitter got a threat phone text
from the police (herein as Exhibit “E”) and refused to go to Martin with the
children.

41.While the police insisted the Plaintiff to help look for the children. Plaintiff
told the babysitter at that time to deliver her children to her apartment,
without options, for safety until the police come to get them back to Martin's
home (since the babysitter refused to go to Martin’s house).

42.When the second group of police found the children, they disregarded
Plaintiffs following first group of police’s (Atzuro Ramirez, person-in-
charge) instructions, and accused Plaintiff of kidnapping and threw the
plaintiff and the babysitter into jail.

43.Although the case got entirely dismissed in criminal justice court, Yim
continues to use portions of the police report to make it look devastating;

like there's Police Evidence on Plaintiff suddenly.
